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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION AT ASHLAND
                                     CASE NO. 15-cv-112

  Ray Fultz, Executor of the                                                         PLAINTIFF
  Estate of Plummer Fultz

  V.

  Diversicare Leasing Corp. d/b/a
  Elliott Nursing & Rehabilitation Center                                          DEFENDANT


                                      ORDER OF DISMISSAL

         Upon agreed stipulation of the parties, and the Court being otherwise duly advised, IT IS

  HEREBY ORDERED that all claims and causes of action herein between the parties, Ray Fultz,

  as Executor of the Estate of Plummer Fultz, and Defendant, Diversicare Leasing Corporation d/b/a

  Elliott Nursing & Rehabilitation Center are HEREBY DISMISSED WITH PREJUDICE. Each

  party shall bear its own costs with respect to these dismissed claims.       This is a final and

  appealable order and there is no just cause for delay.




                                                                 Signed By:
                                                                 Heney R. Wilhoit, Jr.
                                                                 United Stat•• Oi•trict Judge
